Case 1:25-cv-11048-ADB   Document 59-5   Filed 05/13/25   Page 1 of 4




                     EXHIBIT E
        Case 1:25-cv-11048-ADB                  Document 59-5   Filed 05/13/25   Page 2 of 4




May 6, 2025

Dr. Alan Garber
Office of the President
Harvard University
Massachusetts Hall
Cambridge, MA 02138

Dr. Garber:

        NIH is hereby providing notice that funding for the projects in the attached spreadsheet
will be terminated pursuant to the National Institutes of Health (“NIH”) Grants Policy Statement
(GPS), 1 and 2 C.F.R. § 200.340(a)(4).

        As reflected in the Notices of Award for the most recent budget period of these projects,
the NIH Grants Policy Statement is incorporated as a term and condition of award. The GPS
“includes the terms and conditions of NIH grants and cooperative agreements and is incorporated
by reference in all NIH grant and cooperative agreement awards.” 2 According to the GPS, “NIH
may … terminate the grant in whole or in part as outlined in 2 CFR Part 200.340.” 3 At the time
the Notices of Award were issued for the most recent budget period, 2 C.F.R. § 200.340(a)(4)
permitted termination “[b]y the Federal awarding agency or pass-through entity, to the greatest
extent authorized by law, if an award no longer effectuates the program goals or agency priorities.”

       These awards no longer effectuate agency priorities. NIH is obligated to carefully steward
grant awards to ensure taxpayer dollars are used in ways that benefit the American people and
improve their quality of life. Your project does not satisfy these criteria.

        NIH is responsible for ensuring that its limited resources are appropriately allocated. NIH
policy is that grant dollars should support institutions that foster safe, equal, and healthy working
and learning conditions conducive to high-quality research and free inquiry. 4 NIH policy is also
that grant dollars should only support institutions that comply with principles and laws of
nondiscrimination.


1
  https://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.
2
  NIH GPS, Section 3.
3
  Id. at Section 8.5.2.
4
  NIH GPS, Section 4.
       Case 1:25-cv-11048-ADB           Document 59-5        Filed 05/13/25      Page 3 of 4




        As relevant to NIH’s policies, NIH understands that Harvard continues to engage in race
discrimination including in its admissions process, and in other areas of student life, such as access
to the Law Review at Harvard Law School.

       NIH is also aware of recent events at Harvard University involving antisemitic action that
suggest the institution has a disturbing lack of concern for the safety and wellbeing of Jewish
students. Harvard’s ongoing inaction in the face of repeated and severe harassment and targeting
of Jewish students has ground day-to-day campus operations to a halt, deprived Jewish students of
learning and research opportunities to which they are entitled, and brought shame upon the
University and our nation as a whole. Indeed, as the Harvard Presidential Task Force on Combating
Antisemitism and Anti-Israeli Bias concluded, actions at Harvard during the 2023-2024 academic
year resulted in widespread abuse of Jewish and Israeli students by an institution “that
mainstreamed and normalized what many Jewish and Israeli students experience as antisemitism
and anti-Israeli bias.”

         Supporting research in such an environment is plainly inconsistent with NIH’s priorities
and raison d’etre of funding and championing the very best American research and educational
institutions.

       Although “NIH generally will suspend (rather than immediately terminate) a grant and
allow the recipient an opportunity to take appropriate corrective action before NIH makes a
termination decision,” 5 no corrective action is possible here. That is because, upon being made
aware of systematic institutional failures to address deeply rooted antisemitism and racial
discrimination, the University has refused to take appropriate action. NIH perceives these
categorical rejections to manifest the University’s unwillingness to take corrective action or
implement necessary reforms. Therefore, no modification of the projects could align the projects
with agency priorities.

        Costs resulting from financial obligations incurred after termination are not allowable. 6
Nothing in this notice excuses either NIH or you from complying with the closeout obligations
imposed by 2 C.F.R. §§ 200.344. NIH will provide any information required by the Federal
Funding Accountability and Transparency Act or the Office of Management and Budget’s
regulations to USAspending.gov. 7




5
  NIH GPS, Section 8.5.2.
6
  See 2 C.F.R. § 200.343.
7
  2 C.F.R. § 200.341(c).
      Case 1:25-cv-11048-ADB            Document 59-5         Filed 05/13/25      Page 4 of 4




Administrative Appeal

       You may object and provide information and documentation challenging these
terminations.

         You must submit a request for such review to Director Bhattacharya no later than 30 days
after this letter is received, except that if you show good cause why an extension of time should be
granted, Dr. Bhattacharya may grant an extension of time.

       The request for review must include a copy of this decision, must identify the issue(s) in
dispute, and must contain a full statement of your position with respect to such issue(s) and the
pertinent facts and reasons in support of your position. In addition to the required written statement,
you shall provide copies of any documents supporting your claim.



Sincerely,


Michelle G. Bulls
Director, Office of Policy for Extramural Research Administration
Office of Extramural Research/Office of the Director
